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In the Amited States Court of Federal Clating

No. 19-169L
(Filed: 20 September 2019)

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CHARLES J. PATERNOSTRO,

Plaintiffs,
V

THE UNITED STATES,

Defendant

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ORDER

On 30 January 2019, plaintiff, proceeding pro se, filed his Complaint with this Court. On
10 June 2019, defendant filed its Motion to Dismiss pursuant to 12(b)(1) and 12(b)(6) of the
Rules of the Court of Federal Claims (““RCFC”). Plaintiff failed to respond to defendant’s
Motion to Dismiss, which was due by 5 August 2019. On 22 August 2019, the Court gave
plaintiff “an additional 28 days to file its Response to defendant’s Motion to Dismiss.” Order,
ECF 12. In that Order, the Court required: “plaintiff to respond to defendant’s Motion to
Dismiss on or before 19 September 2019. If plaintiff fails to respond by this date, the Court will
have no choice but to dismiss plaintiff's Complaint for failure to prosecute pursuant to RCFC
41(b).” Td.

As of today, 20 September 2019, the Court has not received plaintiff's Response to
defendant’s Motion to Dismiss. As such, the Court has no choice but to DISMISS plaintiff's
case without prejudice for failure to prosecute, pursuant to RCFC 41(b). The Clerk is hereby
directed to enter judgment consistent with this Order.

IT IS SO ORDERED.

    

RYAN T. HOLTE
Judge
